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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


 IDAHO FEDERATION OF TEACHERS
 et al.,                                     Case No. 1:23-cv-00353-DCN

                    Plaintiffs,
                                             ORDER GRANTING CONSENT
 v.                                          MOTION FOR EXTENSION OF
                                             TIME
 RAÚL LABRADOR, in his official
 capacity as Attorney General of the State
 of Idaho, et al.,

                   Defendants.


      Pursuant to Plaintiffs’ Consent Motion for Extension of Time, the Court hereby

ORDERS that the deadline for Plaintiffs to Reply to Defendant Bennetts’ Opposition to

Plaintiff’s Motion for Preliminary Injunction is moved to November 16, 2023.


                                              DATED: November 9, 2023


                                              _________________________
                                              David C. Nye
                                              Chief U.S. District Court Judge




ORDER - 1
